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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF NEW JERSEY

     In re:                                        )
                                                   )   Chapter 11
              LTL MANAGEMENT LLC,                  )
                                                   )   BK Case: 23-12825-MBK
              Debtor.                              )

                       MRHFM’S1 OBJECTION TO FCR RANDI S. ELLIS’
                    RETENTION OF WALSH PIZZI O’REILLY FALANGA LLP

              MRHFM objects to FCR Randi Ellis retaining the Walsh firm (“Walsh”). See Dkt.

 552, Retention App.2 Parties are usually free to hire any counsel they wish. But this

 situation is unusual, and this retention is subject to the Court’s approval. This FCR—who

 supports a bad faith bankruptcy that caps future plaintiffs’ state law remedies and

 tramples on their jury access—needs legal advice that respects Supreme Court and Third




 1 Maune Raichle Hartley French & Mudd, LLC only represents mesothelioma victims, including over
 seventy-nine with filed cases in state court. This includes Plaintiff Katherine Tollefson.
 2 Over the objections of the TCC, the United States Trustee, Paul Crouch, and MRHFM, Ms. Ellis was

 appointed Future Talc Claimants’ Representative (“FCR”) in LTL2. See Order, 5/18/23, Dkt. 551.
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 Circuit precedent, state law, and the Constitution of the United States.3 Based on the

 record before this Court, Ms. Ellis is not getting that advice from Walsh. See MRHFM Obj.

 Ellis, Dkts. 320 & 438; LTL1, MRHFM Obj. Prelim. Inj., Dkt. 2564. For the sake of all future

 talc cancer victims, Ms. Ellis needs to find different counsel.

         Either Walsh: (1) knew the FCR was strategizing with the half-trillion-dollar

 tortfeasor about stuffing its future victims into a trust and failed to stop her, or (2) didn’t

 know what Ms. Ellis was doing. Neither are excusable. See “Communications between

 Randi Ellis and Counsel for J&J”, Dkt. 436-1 (TCC Response to Ellis Amend. Supp. Decl).4



 3 See U.S. Const. amend VII; Ortiz v. Fibreboard Corp., 527 U.S. 815, 845-46 (1999) (recognizing the “serious
 constitutional concerns that come with any attempt to aggregate individual tort claims on a limited fund
 rationale” as “a mandatory settlement-only class action with legal issues and future claimants compromises
 their Seventh Amendment rights without their consent”); In re LTL Mgmt., LLC, 64 F.4th 84, 93, 109 (3d Cir.
 2023)(holding that only good faith debtors in financial distress are permitted into bankruptcy’s “safe
 harbor” and that LTL represented that it “can pay current and future talc claimants in full” and therefore
 is not in financial distress); In re Combustion Eng’g, 391 F.3d 190, 237-38 (3d Cir. 2004)(recognizing future
 plaintiffs might prefer suing a solvent non-debtor in the tort system as opposed to a trust); In re W.R. Grace
 & Co., 591 F.3d 164, 174 (3d Cir. 2009)(holding that a bankruptcy court must have a basis of jurisdiction
 other than 11 U.S.C. § 105, otherwise “a bankruptcy court would have power to enjoin any action, no matter
 how unrelated to the underlying bankruptcy it may be, so long as the injunction motion was filed in the
 adversary proceeding…[t]he existence of a bankruptcy proceeding itself” is not “an all-purpose grant of
 jurisdiction”); In re Fed.-Mogul Glob. Inc., 684 F.3d 355, 358, 378 (3d Cir. 2012) (recognizing that to “‘protect
 the due process rights of future claimants’ section 524(g) imposed ‘many statutory prerequisites’ that must
 be satisfied before a channeling injunction may issue…Congress created 524(g) as the best course to
 harmonize the interests of asbestos claimants and reorganized debtors alike”) (citing Combustion Eng’g, 391
 F.3d at 234, Fn.45 and H.R. Rep. No. 103–835, at 46-48 (1994)). Recent decisions from the Fourth Circuit and
 Third Circuit reaffirm that non-distressed debtors are not allowed in bankruptcy court. In In re Kaiser
 Gypsum, the Fourth Circuit approvingly cited In re Quigley Co., 676 F.3d 45, 58–59 (2d Cir. 2012), In re W.R.
 Grace & Co., 13 F.4th 279, 283 (3d Cir. 2021), and legislative history in explaining that § 524(g) is meant to
 allow a “Chapter 11 debtor with substantial asbestos liabilities” to “emerge from bankruptcy as an
 economically viable entity.” In re Kaiser Gypsum Co., Inc., 60 F.4th 73, 77–78 (4th Cir. 2023).
 4 The FCR had a Zoom meeting with Ms. Lounsberry at 7:18 pm on March 22nd. Dkt. 436-1, pg. 10 of 68.

 Just over an hour later, Ms. Lounsberry sent Ms. Ellis a draft declaration supporting a second bankruptcy
 filing. Id., pg. 11 of 68. The next morning, after reviewing the declaration, the only change Ms. Ellis
 suggested was to indicate that she was still “serving” as the FCR. Id., pg. 15 of 68.
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        The Third Circuit found LTL Management could pay everyone—including Ms.

 Ellis’ constituency—“in full.” LTL Mgmt., 64 F.4th at 109. On January 31st, the Debtor had

 unconditional access to at least $61 billion, and all of it was available to future plaintiffs.

 Now? LTL’s pathetic Plan is unconfirmable for about a dozen reasons. See Dkt. 525. Walsh

 advised Ms. Ellis to support this? That’s disqualifying.

 Respectfully submitted:

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